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iPhone
User Guide

For iOS 5.0 Software
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iPhone at a Glance

iPhone overview

Headset jack — 3 — One
get butlon
Top — =

microphone Receiver

Sosa” 7

Status bar
switch i
i Main camera
Volume
buttons | LED flash
Front camera = Le App ij
| pp icons
Apple Retina
display SIM card tray
Home button Dock
connector
Bottom
microphone Speaker

Your iPhone and the Home screen may look different, depending on the model of iPhone you
have and whether you've customized your Home screen.

Accessories
The following accessories are included with iPhone:

Apple Earphones Uc
with Remote and Mic - —
Dock Connector to USB Cable

USB power adapter SIM eject tool
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Item What you can do with it

Apple Earphones with Remote Listen to music and videos, and make phone calls. See “Apple Earphones

and Mic with Remote and Mic” on page 32.

Dock Connector to USB Cable Use this cable to connect iPhone to your computer to sync and charge, The
cable can be used with the optional dock or plugged directly into iPhone.

USB power adapter Connect the power adapter to iPhone using the included cable, then plug it
into a standard power outlet to charge iPhone.

SIM eject tool (not included in Eject the SIM card tray.

all areas)

Buttons

On/Off button

When you're not using iPhone, you can lock it to turn off the display and save the battery.
Lock iPhone: Press the On/Off button.
When iPhone is locked, nothing happens if you touch the screen. iPhone can still receive calls,

text messages, and other updates. You can also:
+ Listen to music

* Adjust the volume using the buttons on the side of iPhone (or on the iPhone earphones) while
you're on a phone call or listening to music

* Use the center button on iPhone earphones to answer or end a call, or to control audio
playback (see “Playing songs and other audio” on page 60)

On/Off button

Unlock iPhone Press the Home button O or the On/Off button, then drag the slider.

Turn iPhone off Press and hold the On/Off button for a few seconds until the red slider
appears, then drag the slider.

Turn iPhone on Press and hold the On/Off button until the Apple logo appears.

By default, if you don't touch the screen for a minute, iPhone locks automatically. To turn auto-lock
off, or to change how long before iPhone locks, see “Auto-Lock” on page 150. To require a passcode
to unlock iPhone, see “Passcode Lock” on page 150,

Home button
The Home button O lets you get back to the Home screen at any time. It also provides other
convenient shortcuts.

Go to the Home screen: Press the Home button O.

At the Home screen, just a tap opens an app. See “Opening and switching apps" on page 19.

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Display the multitasking bar With iPhone unlocked, double-click the Home button O.
to see recently used apps

Display audio playback controls When iPhone is locked: Double-click the Home button CO. See “Playing songs
and other audio” on page 60.
When using another app: Double-click the Home button O, then flick the
app switcher from left to right.

Start Siri (iPhone 45) or Press and hold the Home button O. See Chapter 4,"Siri,” on page 38 and
Voice Control “Voice Control” on page 29.

Volume buttons

When you're on the phone or listening to songs, movies, or other media, the buttons on the side
of iPhone adjust the audio volume. Otherwise, the buttons control the volume for the ringer,
alerts, and other sound effects.

WARNING: For important information about avoiding hearing loss, see the /mportant Product
Information Guide at www.apple.com/support/manuals/iphone.

To limit the volume for music and videos, go to Settings > Music.

You can also use the volume up button to take a picture or record a video. See “Taking photos and
videos" on page 76.

Ring/Silent switch
Flip the Ring/Silent switch to put iPhone in ring mode & or silent mode A.

A ee

Silent—

In ring mode, iPhone plays all sounds. In silent mode, iPhone doesn't ring or play alerts and other
sound effects.

Important: Clock alarms, audio apps such as Music, and many games still play sounds through the
built-in speaker when iPhone is in silent mode.

For information about changing sound and vibrate settings, see “Sounds and the Ring/Silent
switch” on page 146.

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Status icons
The icons in the status bar at the top of the screen give information about iPhone:

Status icon

What it means

asl

Cell signal*

Shows whether you're in range of the cellular network and
can make and receive calls. The more bars, the stronger
the signal. If there's no signal, the bars are replaced with
“No service.”

Airplane mode

Shows that airplane mode is on—you cannot use the
phone, access the Internet, or use Bluetooth® devices.
Non-wireless features are available. See “Airplane
mode" on page 143.

3G

UMTS/EV-DO

Shows that your carrier's 3G UMTS (GSM) or EV-DO
(CDMA) network is available, and iPhone can connect to
the Internet over that network. See “Network” on page 148.

EDGE

Shows that your carrier's EDGE (GSM) network is available,
and iPhone can connect to the Internet over that network.
See “Network” on page 148.

GPRS/1xRTT

Shows that your carrier’s GPRS (GSM) or 1xRTT (CDMA)
network is available, and iPhone can connect to the
Internet over that network. See “Network” on page 148.

+)

Wi-Fi*

Shows that iPhone is connected to the Internet over
a Wi-Fi network. The more bars, the stronger the
connection, See “Wi-Fi” on page 143.

@

Personal Hotspot

Shows that iPhone is connected to another iPhone
providing a Personal Hotspot. See “Personal Hotspot" on
page 145.

Syncing

Shows that iPhone is syncing with iTunes.

Network activity

Shows network activity. Some third-party apps may also
use the icon to show an active process.

Call Forwarding

Shows that Call Forwarding is set up on iPhone. See “Call
forwarding” on page 48.

VPN

Shows that you're connected to a network using VPN.
See “Network” on page 148.

Lock

Shows that iPhone is locked. See “On/Off button” on
page 10.

TTY

Shows that iPhone is set to work with a TTY machine.
See “TTY support” on page 141.

Play

Shows that a song, audiobook, or podcast is playing.
See “Playing songs and other audio” on page 60.

Portrait orientation lock

Shows that the iPhone screen is locked in portrait
orientation. See “Viewing in portrait or landscape
orientation’ on page 21.

Alarm

Shows that an alarm is set. See “Setting alarms” on
page 92,

Location Services

Shows that an item is using Location Services.
See “Location Services” on page 145,

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Status icon What it means

x Bluetooth* Blue or white icon: Bluetooth is on and a device, such as
a headset or car kit, is connected. Gray icon: Bluetooth is
on, but no device is connected. See “Bluetooth devices” on
page 33.

ae Bluetooth battery Shows the battery level of a supported paired Bluetooth

device.

Battery

Shows battery level or charging status. See “Battery” on
page 34.

* The use of certain accessories with iPhone may affect wireless performance.

Chapter 1

iPhone at a Glance

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Getting Started

WARNING: To avoid injury, read all operating instructions in this guide and safety information
in the iPhone Important Product Information Guide at www.apple.com/support/manuals/iphone
before using iPhone.

Viewing this user guide on iPhone
The iPhone User Guide can be viewed on iPhone in Safari, and in the free iBooks app,

View the user guide in Safari: Tap QQ, then tap the iPhone User Guide bookmark.
To add an icon for the guide to the Home screen, tap E, then tap “Add to Home Screen.” To view
itin a different language, tap “Change Language” on the main contents page.

View the user guide in iBooks: If you haven't installed iBooks, open App Store, then search for
and install “iBooks.” Open iBooks and tap Store. Search for “iPhone User,” then select and download
the guide,

For more information about iBooks, see Chapter 30, "iBooks," on page 122,

What you need

To use iPhone, you need:
+ Awireless service plan with a carrier that provides iPhone service in your area
» An Apple ID (for some features), which can be created during setup
+ A Mac ora PC with a USB 2.0 port and one of the following operating systems:
* Mac OS X v10.5.8 or later
+ Windows 7, Windows Vista, or Windows XP Home or Professional (SP3)
+ An Internet connection for your computer (broadband is recommended)

+ iTunes 10.5 or later (for some features), available at www.itunes.com/download
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Installing the SIM card

If you were given a SIM card to install, install it before setting up iPhone.

Important: A SIM card is required to use cellular services when connecting to GSM networks and
some CDMA networks. An iPhone 45 that has been activated on a CDMA wireless network may
also use a SIM card for connecting to a GSM network, primarily for international roaming. Your
iPhone is subject to your wireless service provider's policies, which may include restrictions on
switching service providers and roaming, even after conclusion of any required minimum service
contract. Contact your wireless service provider for more details. Availability of cellular capabilities
depends on the wireless network.

Installing the SIM Card in iPhone 4S

Micro SIM
card tray
i — + ‘i
Paper clip
sea tie Micro SIM
y 4 y) card aw

Install the SIM card: Insert the end of a small paper clip or SIM eject tool into the hole on the
SIM card tray, Pull out the SIM card tray and place the SIM card in the tray as shown. With the tray
aligned and the SIM card on top, carefully replace the tray.

Setup and activation

To set up and activate iPhone, turn on iPhone and follow the Setup Assistant. The Setup Assistant
steps you through the setup process, including connecting to a Wi-Fi network, signing in with or
creating a free Apple ID, setting up iCloud, turning on recommended features such as Location
Services and Find My iPhone, and activating iPhone with your carrier. You can also restore from an
iCloud or iTunes backup during setup.

Activation can be done over a Wi-Fi network or over your carrier's cellular network (not available
in all areas). If neither are available, you need to connect iPhone to your computer. See the
following section. If you don’t have a SIM card installed (for GSM networks), iPhone must be
connected to a Wi-Fi network, or to your computer with iTunes open, in order to complete
activation. In areas where you have a choice of carriers, the SIM card must be installed to
complete the initial activation.

Connecting to the Internet

iPhone connects to the Internet whenever necessary, using a Wi-Fi connection (if available) or
your carrier’s cellular network. For information about connecting to a Wi-Fi network, see “Wi-Fi” on
page 143.

Note: If a Wi-Fi connection to the Internet isn’t available, certain iPhone features and services
may transfer data over your carrier's cellular network, which may result in additional fees. Contact
your carrier for information about your cellular data plan rates, To manage cellular data usage, see
“Network” on page 148.

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Connecting iPhone to your computer

If you don’t have Wi-Fi or cellular access, you may need to connect iPhone to your computer in
order to complete activation. Connecting iPhone to your computer also lets you sync information,
music, and other content with iTunes. See “Syncing with iTunes” on page 18.

Connect iPhone to your computer: Use the Dock Connector to USB Cable provided with iPhone.

Setting up mail and other accounts

iPhone works with iCloud, Microsoft Exchange, and many of the most popular Internet-based mail,
contacts, and calendar service providers. If you don't already have a mail account, you can set up a
free iCloud account when you first set up iPhone, or later in Settings > iCloud,

Set up an account: Go to Settings > Mail, Contacts, Calendars.
For information about iCloud, see “iCloud” on page 17.

You can add contacts using an LDAP or CardDAV account if your company or organization
supports it. See “Syncing contacts” on page 107.

You can add a CalDAV calendar account, and you can subscribe to iCal (.ics) calendars or import
them from Mail. See page 71.

Managing content on your iOS devices
You can transfer information and files between your iOS devices and computers using either
iCloud or iTunes.

* iCloud stores your photos, apps, contacts, calendars, and more, and wirelessly pushes them
to your devices. When something changes on one of your devices, your other devices are
automatically updated. See “iCloud,” below.

+ iTunes syncs music, video, photos, and more between your computer and iPhone. Changes you
make on one device are copied to the other when you sync. You can also use iTunes to copy
a file to iPhone for use with an app, or to copy a document you've created on iPhone to your
computer. See “Syncing with iTunes” on page 18.

You can use iCloud or iTunes, or both, depending on your needs. For example, you can use iCloud
Photo Stream to automatically get photos you take on iPhone to your other devices, and use
iTunes to sync photo albums from your computer to iPhone.

Note: You should not sync items on the Info pane of iTunes (such as contacts, calendars, and
notes) and also use iCloud to keep that information up to date on your devices. If you do both,
duplicated data may result.

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iCloud

iCloud stores your photos, apps, contacts, calendars, and more, and wirelessly pushes it to your
iOS devices and computers, automatically keeping everything up to date.

iCloud features include:
+ Automatic Downloads—Music, apps, and books that you purchase appear on your devices
automatically.

* Previous Purchases—View previous iTunes Store, App Store, and iBooksstore purchases and
download them again if needed.

+ Photo Stream—When you take a photo on one iOS device, automatically get it on your other
devices. See“Photo Stream” on page 78 .

+ Documents & Data—Store and keep document up to date on your devices for apps that
support Documents in the iCloud.

+ Find My iPhone—Locate your iPhone on a map, display a message, play a sound, lock the
screen, or remotely wipe the data. See “Find My iPhone” on page 36.
You can also back up iPhone to iCloud. See “Backing up iPhone” on page 157.

With iCloud, you get a free email account and 5 GB of storage for your mail, documents, and
backup. Your purchased music, apps, TV shows, and books, as well as your Photo Stream, don’t
count against your free space.

Note: iCloud is not available in all areas, and iCloud features may vary by area.

Sign in or create an iCloud account: In Settings, tap iCloud.

If you have a MobileMe subscription, you can migrate it to iCloud at me.com/move.

Choose info to store in iCloud Go to Settings > iCloud.

Turn Automatic Downloads on Go to Settings > Store.

or off

View and download previous Go to iTunes, then tap Purchased.

iTunes Store purchases

View and download previous Go to App Store, tap Updates, then tap Purchased.
App Store purchases

View and download previous Go to iBooks, tap Store, then tap Purchased.
iBooksstore purchases

Turn Photo Stream on or off Go to Settings > iCloud.

Find your iPhone Visit www.icloud.com.

Important: On your iPhone, Find My iPhone must be turned on in
Settings > iCloud in order for Find My iPhone features to be available.

Purchase additional iCloud storage Go to Settings > iCloud > Storage & Backup, then tap Manage Storage. For
information about purchasing iCloud storage, see help.apple.com/icloud.

For more information about iCloud, go to www.apple.com/icloud. For support information, go to
www.apple.com/support/icloud.

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Syncing with iTunes

Syncing with iTunes copies information from your computer to iPhone, and vice versa, You can
sync by connecting iPhone to your computer using the Dock Connector to USB Cable, or you
can set up iTunes to sync wirelessly using Wi-Fi. You can set iTunes to sync music, photos, video,
podcasts, apps, and more. For information about syncing iPhone with a computer, open iTunes,
then select iTunes Help from the Help menu.

Set up wireless iTunes syncing: Connect iPhone to your computer using the Dock Connector to
USB Cable. In iTunes, turn on “Sync over Wi-Fi connection” in the device's Summary pane.

When Wi-Fi syncing is turned on, iPhone syncs automatically every day. iPhone must be
connected to a power source, both iPhone and your computer must be on the same wireless
network, and iTunes must be open on your computer. For more information, see “iTunes Wi-Fi
Sync" on page 149,

Tips for syncing with iTunes
« If you're using iCloud to store your contacts, calendars, bookmarks, and notes, don't also sync
them to your device using iTunes.

» Purchases you make on iPhone in the iTunes Store or the App Store are synced back to your
iTunes library. You can also purchase or download content and apps from the iTunes Store on
your computer, and then sync them to iPhone.

* In the device's Summary pane, you can set iTunes to automatically sync your device when it's
attached to your computer. To temporarily override this setting, hold down Command and
Option (Mac) or Shift and Control (PC) until you see your iPhone appear in the sidebar.

+ In the device's Summary pane, select “Encrypt iPhone backup" if you want to encrypt the
information stored on your computer when iTunes makes a backup, Encrypted backups are
indicated by a lock icon @, and a password is required to restore the backup. If you don't select
this option, passwords (such as those for mail accounts) aren’t included in the backup and will
have to be reentered if you use the backup to restore the device.

+ In the device's Info pane, when you sync mail accounts, only the settings are transferred from
your computer to iPhone. Changes you make to an email account on iPhone don't affect the
account on your computer.

» In the device's Info pane, click Advanced to select options to let you replace the information on
iPhone with the information from your computer during the next sync.

* If you listen to part of a podcast or audiobook, your place in the story is included if you sync the
content with iTunes. If you started listening to the story on iPhone, you can pick up where you
left off using iTunes on your computer—or vice versa.

» In the device's Photo pane, you can sync photos and videos from a folder on your computer.

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Basics

Using apps
The high-resolution Multi-Touch screen and simple finger gestures make it easy to use
iPhone apps.

Opening and switching apps
Press the Home button O to go to the Home screen and see your apps.

Open an app: Tap it.

To return to the Home screen, press the Home button © again. Flick left or right to see another
Home screen.

Flick left or right to switch
to another Home screen.

Double-click the Home button O to reveal the multitasking bar, which shows your most recently
used apps. Tap an app to reopen it, or flick to see more apps.

Recently used apps

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Remove an app from the Touch and hold the app icon until it begins to jiggle, then tap }.
multitasking bar Removing an app from the multitasking also forces it to quit.

Scrolling
Drag up or down to scroll. On some screens such as webpages, you can also scroll side to side.

aa
per
| —

Dragging your finger to scroll won't choose or activate anything on the screen.

Flick to scroll quickly.

You can wait for the scrolling to come to a stop, or touch the screen to stop it immediately.
Touching the screen to stop scrolling won't choose or activate anything.

To quickly scroll to the top of a page, tap the status bar at the top of the screen.

i7— Drag your finger along
the index to scroll quickly.
Tap a letter to jump to

a section.

Tap an item in a list to choose it. Depending on the list, tapping an item can do different things—
for example, it may open a new list, play a song, open an email, or show someone's contact
information so you can call that person.

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Zooming in or out

When viewing photos, webpages, email, or maps, you can zoom in and out. Pinch your fingers
together or apart. For photos and webpages, you can double-tap (tap twice quickly) to zaom
in, then double-tap again to zoom out. For maps, double-tap to zoom in and tap once with two
fingers to zoom out.

Zoom is also an accessibility feature that lets you magnify the screen with any app you're using,
to help you see what's on the display. See “Zoom” on page 138.

Viewing in portrait or landscape orientation
Many iPhone apps let you view the screen in either portrait or landscape orientation. Rotate
iPhone and the display rotates too, adjusting automatically to fit the new screen orientation.

You may prefer landscape orientation for viewing webpages in Safari, or when entering text,
for example. Webpages scale to the wider screen in landscape orientation, making the text and
images larger. The onscreen keyboard is also larger.

Movies viewed in Videos and YouTube appear only in landscape orientation. Street views in Maps
also appear only in landscape orientation.

Lock the screen in portrait orientation: Double-click the Home button O, flick the bottom of the
screen from left to right, then tap &.

The portrait orientation lock icon @ appears in the status bar when the screen orientation
is locked.

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Customizing the Home screen

Rearranging apps

You can customize the layout of app icons on the Home screen—including the apps in the Dock
along the bottom of the screen. If you want, arrange them over multiple Home screens. You can
also organize apps by collecting them in folders.

Rearrange icons:
Touch and hold any app on the Home screen until it begins to jiggle.
Arrange the apps by dragging them.

Press the Home button O to save your arrangement.

Move an icon to another screen While arranging apps, drag an app to the side of the screen.

Create additional Home screens While arranging apps, flick to the rightmost Home screen, then drag an app
to the right edge of the screen. You can create up to 11 Home screens.

Reset your Home screen to the Go to Settings > General > Reset, then tap Reset Home Screen Layout.

default layout Resetting the Home screen removes any folders you've created and applies

the default wallpaper to your Home screen.

You can add icons on the Home screen to open your favorite webpages. See “Web clips” on
page 59.

When iPhone is physically connected to your computer (with the Dock Connector to USB Cable),
you can customize your Home screens using iTunes. In iTunes, select iPhone in the Devices list,
then click Apps at the top of the screen.

Organizing with folders

Folders let you organize apps on the Home screen. You can put up to 12 apps in a folder. iPhone
names a folder automatically when you create it, based on the category of the apps you use

to create the folder. You can change the name anytime you want. Like apps, folders can be
rearranged by dragging them on the Home screens, or to the Dock.

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Create a folder: Touch an app until the Home screen apps begin to jiggle, then drag the app onto
another app.

iPhone creates a new folder that includes the two apps, and shows the folder’s name. You can tap
the name field and enter a different name.

Tap a folder to open it, then you can tap to open an app inside. To close a folder, tap outside the
folder, or press the Home button DO.

While arranging apps:

Add an app toa folder Drag the app onto the folder.

Remove an app from a folder Tap to open the folder, then drag the app out of the folder.

Delete a folder Move all apps out of the folder. The folder is deleted autornatically.
Rename a folder Tap to open the folder, then tap the name at the top and use the keyboard

to enter a new name.

When you finish organizing your Home screen, press the Home button O to save your changes.

Adding wallpaper

You can set an image or photo as wallpaper for the Lock screen. You can also set wallpaper for
your Home screen. You can choose an image that came with iPhone, a photo from your Camera
Roll or other album on iPhone.

Set wallpaper:

In Settings, choose Wallpaper, tap the image of the Lock and Home screens, then tap Wallpaper or
an album.

Tap to choose an image or photo. If you choose a photo, drag to position it and pinch to zoom in
or out, until it looks the way you want.

Tap Set, then choose whether you want to use the photo as wallpaper for your Lock Screen, Home
screen, or both.

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Typing

The onscreen keyboard appears anytime you need to type.

Entering text

Use the keyboard to enter text. The keyboard corrects misspellings, predicts what you're typing,
and learns as you use it. Depending on the app you're using, the intelligent keyboard may suggest
corrections as you type, to help prevent mistyped words.

Type text: Tap a text field to bring up the keyboard, then tap on the keyboard.

As you type, each letter appears above your thumb or finger. If you touch the wrong key, you can
slide your finger to the correct key. The letter isn’t entered until you release your finger from the key.

Delete the previous character Tap €3.

Type uppercase Tap the Shift key 4* before tapping a letter. Or touch and hold the Shift key,
then slide to a letter.

Quickly type a period and space Double-tap the space bar. To turn this feature on or off, go to Settings >
General > Keyboard.

Turn caps lock on Double-tap the Shift key 4+. Tap the Shift key again to turn caps lock off.
You can turn this feature on or off in Settings > General > Keyboard.

Enter numbers, punctuation, Tap the Number key EEE). Tap the Symbol key GM to see additional

or symbols punctuation and symbols.

Set options for typing Go to Settings > General > Keyboard.

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Webel Telefe
eo

To type an alternate character,
touch and hold a key, then slide
to choose one of the options.

Dictation

On iPhone 45, you can dictate text instead of typing it on the onscreen keyboard. For
example, you can dictate a message in Mail or a note in Notes. Siri must be turned on in
Settings > General > Siri.

Dictate text: From the onscreen keyboard, tap %, then dictate. When you finish, tap Done.
To add to the message, tap 8 again.

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Enter a comma, period, or other Say the punctuation mark.
punctuation mark

Auto-correction and spell checking
For many languages, iPhone automatically corrects misspellings or makes suggestions as
you type. When iPhone suggests a word, you can accept the suggestion without interrupting

your typing.

Note: For a list of supported languages, see www.apple.com/iphone/specs.html.

Accept the suggestion: Type a space, punctuation mark, or return character.

Reject a suggestion: Tap the “x”

Each time you reject a suggestion for the same word, iPhone becomes more likely to accept
the word.

iPhone may also underline words you've already typed that might be misspelled.

‘Pow about Inat rw restaurant we saw

yesterday?
Replace a misspelled word Tap the word, then tap one of the alternate spellings.

If the word you want doesn't appear, correct the word by retyping it.
Turn auto-correction or spell Go to Settings > General > Keyboard.

checking on or off

Shortcuts and your personal dictionary

Shortcuts lets you type just a few characters in place of a longer word or phrase, The expanded
text appears whenever you type the shortcut. For example, the shortcut “omw” is expanded to
“On my way!”

Create a shortcut: Go to Settings > General > Keyboard, then tap Add New Shortcut.

Add a word or phrase to your personal dictionary so that iPhone doesn’t try to correct or
replace it: Create the shortcut, but leave the Shortcut field blank.

Edit a shortcut Go to Settings > Keyboard and tap the shortcut.

Editing text

The touchscreen makes it easy to make changes to text you've entered. An onscreen magnifying
glass helps you position the insertion point precisely where you need it. Grab points on selected
text let you quickly select more or less text. You can also cut, copy, and paste text and photos
within apps, or across multiple apps.

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Position the insertion point: Touch and hold to bring up the magnifying glass, then drag to
position the insertion point.

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You can also double-tap to select a word. In read-only documents, such as webpages, or email
messages you've received, touch and hold to select a word. Drag the grab points to select more
or less text.

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ajs|pl/FlajuHlulKit

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Cut or copy text Select text, then tap Cut or Copy.

Paste text Tap the insertion point and tap Paste. The last text that you cut or copied is
inserted. Or select text and tap Paste to replace the text.

Undo the last edit Shake iPhone and tap Undo.

Make text bold, italic, or underlined When available, tap », then tap B/I/U.

Get the definition of a word When available, tap ®, then tap Define.

Get alternative words When available, tap Suggest, then tap one of the words.

Keyboard layouts
You can use Settings to set the keyboard layouts for software and hardware keyboards. The
available layouts depend on the keyboard language.

Select a keyboard layout: Go to Settings > General > Keyboard > International Keyboards,
then select a keyboard.

For each language, you can make separate selections for both the onscreen software and

any external hardware keyboards. The software keyboard layout determines the layout of the
keyboard on the iPhone screen. The hardware keyboard layout determines the layout of an Apple
Wireless Keyboard connected to iPhone.

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Using an Apple Wireless Keyboard

You can use an Apple Wireless Keyboard (available separately) for typing on iPhone. The Apple
Wireless Keyboard connects via Bluetooth. See “Pairing a Bluetooth device with iPhone” on
page 33.

Once the keyboard is paired with iPhone, it connects whenever the keyboard is within range (up
to 30 feet). You can tell that the keyboard is connected if the onscreen keyboard doesn’t appear
when you tap in a text field. To save the battery, turn off or unpair the keyboard when not in use.

Printing

AirPrint

AirPrint lets you print wirelessly to AirPrint-enabled printers. You can print from:

» Mail—email messages and attachments that can be viewed in Quick Look

* Photos and Camera—photos

» Safari—webpages, PDFs, and other attachments that can be viewed in Quick Look
+ iBooks—PDFs

+ Maps—view of map showing on the screen

+ Notes—currently displayed note
Other apps available from the App Store may also support AirPrint.

An AirPrint-enabled printer doesn’t need setup—just connect it to the same Wi-Fi network as
iPhone. For more information, go to support.apple.com/kb/HT4356,

Printing a document
AirPrint uses your Wi-Fi network to send print jobs wirelessly to your printer. (iPhone and the
printer must be on the same Wi-Fi network.)

Print a document:
1 Tap <, &, or £3 (depending on the app youre using), then tap Print.
2 Tap Select Printer to select a printer.

3 Set printer options such as number of copies and double-sided output (if the printer supports it).
Some apps also let you set a range of pages to print.

4 Tap Print.

See the status of a print job Double-click the Home button ©, then tap Print Center.

is
The Print Center app appears as the most recent app when a document is printing. A badge on
the app app shows how many documents are queued for printing.

If you're printing more than one document, select a print job to see its status summary.

Cancel a print job Double-click the Home button O, tap Print Center, select the print job (if
you're printing more than one document), then tap Cancel Printing.

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Searching
You can search many apps on iPhone, including Contacts, Mail, Calendar, Music, Messages, Notes,
and Reminders. You can search an individual app, or all apps at once.

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== NYC trip

Bleycle tour of Gentral Park

Search iPhone: Go to the Search screen. (From the first Home screen, flick right or press the
Home button QO.) Enter text in the Search field.

Search results appear as you type. Tap an item in the list to open it. Tap Search to dismiss the
keyboard and see more results.

Icons next to the search results show which app the results are from.

iPhone may display a top hit for you, based on your previous searches. Safari search results include
options to search the web or to search Wikipedia.

App What's searched

Contacts First, last, and company names

Mail To, From, and Subject fields and the messages of all accounts

Calendar Event titles, invitees, locations, and notes

Music Music (names of songs, artists, and albums) and the titles of podcasts,
videos, and audiobooks

Messages Names and text of messages

Notes Text of notes

Reminders Titles

Search also searches the names of the native and installed apps on iPhone, so if you have a lot of
apps, you may want to use Search to locate and open apps.

Open apps from Search Enter the app name, then tap to open the app directly from the search
results.

Use the Spotlight Search setting to specify which contents are searched and the order the results
are presented in. See “Spotlight Search” on page 149.

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Voice Control
Voice Control lets you make phone calls and control music playback using voice commands.
On iPhone 4S, you can also use Siri to control iPhone by voice. See Chapter 4, “Siri,” on page 38.

Note: Voice Control may not be available in all languages. Voice Control is not available on
iPhone 4S when Siri is turned on.

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Use Voice Control: Press and hold the Hame button O until the Voice Control screen appears and
you hear a beep. You can also press and hold the center button on the iPhone earphones.

For best results:
+ Speak into the iPhone microphone as if you were making a phone call. You can also use the
microphone on your Bluetooth headset or compatible Bluetooth car kit.

- Speak clearly and naturally.
+ Say only iPhone commands and names, and numbers, Pause slightly between commands.
* Use full names.

For more about using Voice Control, including information about using Voice Control in different
languages, go to support.apple.com/kb/HT3597.

Voice Control normally expects you to speak voice commands in the language that's set for
iPhone (go to Settings > General > International > Language). Voice Control settings let you
change the language for speaking voice commands. Some languages are available in different
dialects or accents.

Change the language or country: Go to Settings > General > International > Voice Control and
tap the language or country.

Voice Control for the Music app is always on, but for better security you can prevent voice dialing
when iPhone is locked.

Prevent voice dialing when iPhone is locked: Go to Settings > General > Passcode Lock and turn
Voice Dial off. Unlock iPhone to use voice dialing.

See “Voice dialing” on page 42 and “Using Siri or Voice Control with Music” on page 62.

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Notifications

Notification Center displays all your alerts in one place, including alerts about:

+ Missed phone calls and voice messages

» New email

* New text messages

+ Reminders

+ Calendar events

+ Friend requests (Game Center)
+ Weather

* Stocks

Show Notification Center: Drag down from the top of the screen. Scroll the list to see

additional alerts.

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Alerts also appear on the lock screen, or briefly at the top of the screen when you're using iPhone.
You can see all current alerts in Notification Center.

Many apps, such as Phone, Messages, Mail, and the App Store, can display an alert badge on their
Home screen icon with a number (to indicate incoming items) or an exclamation mark (to indicate
a problem). If these apps are contained in a folder, the badge appears on the folder. A badge with
a number shows the total number of items you haven't attended to, such as incoming phone calls,
email messages, text messages, and updated apps to download. A badge with an exclamation
mark indicates a problem with an app.

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Respond to an alert in
Notification Center

Tap the alert.

Respond to an alert on the
lock screen

Swipe the icon displayed in the alert to the right.

Remove alerts from
Notification Center

Tap ©, then tap Clear.

Set options for notifications

Go to Settings > Notifications.

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Twitter
Sign in to your Twitter account (or create a new account) in Settings to enable Tweets with
attachments from the following apps:

+ Camera or Photos—with a photo
- Safari—with a webpage

* Maps—with a location

* YouTube—with a video

Sign in to or create a Twitter account: Go to Settings > Twitter. Then enter the user name and
password for an existing account, or tap Create New Account.

In Camera or Photos,
tap the Action button
to tweet a photo.

Tweet a photo.

Tweet a photo, video, or webpage _ View the item, tap [@®, then tap Tweet. If EP isn't showing, tap the screen.

To include your location, tap Add Location. Location Services must be on in
Settings > Location Services.

Tweet a location in Maps Tap the location pin, tap ©. tap Share Location, then tap Tweet.

Add your current location to Tap “7. Location Services must be turned on in Settings > Location Services.
a Tweet

Add Twitter user names and Go to Settings > Twitter, then tap Update Contacts.

photos to your contacts

Turn Twitter on or off for Photos Go to Settings > Twitter.

or Safari

When you write a Tweet, the number in the lower-right corner of the Tweet screen shows the
number of characters remaining that you can enter. Attachments use some of a Tweet's 140
characters.

You can also install and use the Twitter app to post a Tweet, view your timeline, search for
trending topics, and more.

Install the Twitter app: Go to Settings > Twitter, then tap Install.

To learn how to use the Twitter app, open the app, tap the More button (...), tap Accounts &
Settings, tap Settings, then tap Manual.

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Apple Earphones with Remote and Mic

The Apple Earphones with Remote and Mic included with iPhone feature a microphone, volume
buttons, and an integrated button that allows you to answer and end calls easily, and control
audio and video playback.

Plug in the earphones to listen to music or make a phone call. Press the center button to control
music playback and answer or end calls, even when iPhone is locked.

Pause a song or video Press the center button. Press again to resume playback.

Skip to the next song Press the center button twice quickly.

Return to previous song Press the center button three times quickly.

Fast-forward Press the center button twice quickly and hold.

Rewind Press the center button three times quickly and hold.

Adjust the volume Press the + or — button.

Answer an incoming call Press the center button.

End the current call Press the center button.

Decline an incoming call Press and hold the center button for about two seconds, then let go.

Two low beeps confirm you declined the call,

Switch to anincoming or on-hold —_— Press the center button. Press again to switch back to the first call.
call and put the current call on hold

Switch to an incoming or on-hold ‘Press and hold the center button for about two seconds, then let go.
call and end the current call Two low beeps confirm you ended the first call.

Use Siri or Voice Control Press and hold the center button. See Chapter 4, “Siri,” on page 38 or “Voice
Control” on page 29.

lf you get a call while the earphones are plugged in, you can hear the ringtone through both the
iPhone speaker and the earphones.

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AirPlay

You can stream music, photos, and video wirelessly to your HDTV using AirPlay and Apple TV.

You can also use AirPlay to stream audio to an Airport Express base station. Other AirPlay-enabled
receivers are available from third-parties. Visit the online Apple Store for details.

Stream content to an AirPlay-enabled device: Start the video, slideshow, or music, then tap Cal
and choose the AirPlay device. Once streaming starts, you can exit the app that’s playing
the content.

iPhone and the AirPlay-enabled device must be on the same Wi-Fi network.

Get quick access to the AirPlay When the screen is on, double-click the Home button O and scroll to the
control left end of the multitasking bar.

Switch output from AirPlay back Tap Cal and choose iPhone.
to iPhone

On iPhone 45, you can mirror the iPhone screen on a TV with Apple TV. Everything on the iPhone
screen appears on the TV.

Mirror the iPhone screen on a TV: Tap Cal at the left end of the multitasking bar, choose an
Apple TV, and tap the Mirroring button that appears.

A blue bar appears at the top of the iPhone 4S screen when AirPlay mirroring is turned on.
You can also mirror the iPhone screen on a TV using a cable. See “Watching videos on a TV" on
page 111.

Bluetooth devices

You can use iPhone with the Apple Wireless Keyboard and other Bluetooth devices, such as
Bluetooth headsets, car kits, and stereo headphones. Third-party Bluetooth headphones may
support volume and playback controls. See the documentation that came with your Bluetooth
device. For supported Bluetooth profiles, go to support.apple.com/kb/HT3647,

Pairing a Bluetooth device with iPhone

WARNING: For important information about avoiding hearing loss and about driving safely, see
the Important Product Information Guide at www.apple.com/support/manuals/iphone.

Before you can use a Bluetooth device with iPhone, you must first pair them.

Pair a Bluetooth headset, car kit, or other device with iPhone:

1 Follow the instructions that came with the device to make it discoverable or to set it to search for
other Bluetooth devices.

2 Go to Settings > General > Bluetooth and turn Bluetooth on.

3 Choose the device on iPhone, and enter its passkey or PIN number. See the instructions about the
passkey or PIN that came with the device.

After you pair a Bluetooth device to work with iPhone, you must make a connection to have
iPhone use the device for your calls. See the documentation that came with the device,

When iPhone is connected to a Bluetooth headset or car kit, outgoing calls are routed through
the device. Incoming calls are routed through the device if you answer using the device, and
through iPhone if you answer using iPhone.

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Pair an Apple Wireless Keyboard with iPhone:
Go to Settings > General > Bluetooth and turn Bluetooth on.

Press the power button on the Apple Wireless Keyboard to turn it on,
On iPhone, select the keyboard listed under Devices.
Type the passkey on the keyboard as instructed, then press Return.

Note: You can pair only one Apple Wireless Keyboard with iPhone at a time. To pair a different
keyboard, you must first unpair the current one.

For more information, see “Using an Apple Wireless Keyboard” on page 27.

Bluetooth status
The Bluetooth icon appears in the iPhone status bar at the top of the screen:

* $or%: Bluetooth is on and a device is connected to iPhone. (The color depends on the current
color of the status bar.)

» %: Bluetooth is on but no device is connected. If you've paired a device with iPhone, it may be
out of range or turned off.

« No Bluetooth icon: Bluetooth is turned off.

Unpairing a Bluetooth device from iPhone
You can unpair a Bluetooth device if you don’t want to use it with iPhone any more.

Unpair a Bluetooth device:
Go to Settings > General > Bluetooth and turn Bluetooth on.

Tap ©) next to the device name, then tap “Forget this Device.”

Battery

iPhone has an internal rechargeable battery.

Charging the battery

WARNING; For important safety information about charging iPhone, see the /mportant Product
Information Guide at www.apple.com/support/manuals/iphone.

The battery icon in the upper-right corner shows the battery level or charging status. You can also
display the percentage of the battery charge. Go to Settings > General > Usage and turn on the
setting under Battery Usage.

Charging Charged

Charge the battery: Connect iPhone to a power outlet using the included Dock Connector to
USB Cable and USB power adapter,

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Note: Connecting iPhone to a power outlet can start an iCloud backup or wireless iTunes syncing.
See "Backing up iPhone” on page 157 and “Syncing with iTunes” on page 18.

Charge the battery and sync iPhone: Connect iPhone to your computer using the included Dock
Connector to USB Cable. Or connect iPhone to your computer using the included cable and the
Dock, available separately.

Unless your keyboard has a high-powered USB 2.0 port, you must connect iPhone to a USB 2.0
port on your computer.

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Important: The iPhone battery may drain instead of charge if iPhone is connected to a computer
that’s turned off or is in sleep or standby mode.

If you charge the battery while syncing or using iPhone, it may take longer to charge.

Important: |f iPhone is very low on power, it may display one of the following images, indicating
that iPhone needs to charge for up to ten minutes before you can use it. If iPhone is extremely
low on power, the display may be blank for up to two minutes before one of the low-battery
images appears.

or

Maximizing battery life
iPhone uses lithium-ion batteries. To learn more about how to maximize the battery life of iPhone,
go to www.apple.com/batteries.

Replacing the battery

Rechargeable batteries have a limited number of charge cycles and may eventually need to
be replaced. The iPhone battery isn’t user replaceable; it can be replaced only by an authorized
service provider, For more information, go to www.apple.com/batteries/replacements.html.

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Security features
Security features help protect the information on iPhone from being accessed by others,

Passcodes and data protection
You can set a passcode that you must enter each time you turn on or wake up iPhone.

Set a passcode: Go to Settings > General > Passcode Lock and enter a 4-digit passcode, then
enter the passcode again to verify it. iPhone then requires you to enter the passcode to unlock it
or to display the passcode lock settings.

Setting a passcode turns on data protection. Data protection uses your passcode as the key for
encrypting mail messages and their attachments stored on iPhone. (Data protection may also
be used by some apps available in the App Store.) A notice at the bottom of the Passcode Lock
screen in Settings shows whether data protection is enabled.

To increase iPhone security, turn off Simple Passcode and use a longer passcode with a
combination of numbers, letters, punctuation, and special characters. See "Passcode Lock” on
page 150.

Important: On an iPhone 3GS that didn't ship with iOS 4 or later, you must also restore iOS
software to enable data protection. See "Updating and restoring iPhone software” on page 159,

Prevent voice dialing when iPhone is locked: Go to Settings > General > Passcode Lock and turn
Voice Dial off. Unlock iPhone to use voice dialing.

Find My iPhone

Find My iPhone helps you locate and secure your iPhone using the free Find My iPhone app on
another iPhone, iPad, or iPod touch, or using a Mac or PC web browser signed in to icloud.com
or me.com.

Find My iPhone includes:

+ Locate on a map: View the approximate location of your iPhone on a full-screen map.

+ Send a Message or Play a Sound: Lets you compose a message that will appear on your
iPhone screen, or play a sound at full volume for two minutes, even if the Ring/Silent switch is
set to silent.

+ Remote Passcode Lock: Lets you remotely lock your iPhone and create a 4-digit passcode,
if you haven't set one previously.

» Remote Wipe: Lets you protect your privacy by erasing all media and data on iPhone, restoring
it to factory settings.

Important: Before you can use its features, Find My iPhone must be turned on in either iCloud or
MobileMe settings on your iPhone. Find My iPhone can be turned on only in one account.

Turn on Find My iPhone using Go to Settings > iCloud and turn on Find My iPhone.

iCloud

Turn on Find My iPhone using Go to Settings > Mail, Contacts, Calendars, tap your MobileMe account,
MobileMe then turn on Find My iPhone.

See "iCloud” on page 17 or "Setting up mail and other accounts” on page 16.

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Cleaning iPhone

Clean iPhone immediately if it comes in contact with any contaminants that may cause stains,
such as ink, dyes, makeup, dirt, food, oils, or lotions. To clean iPhone, disconnect all cables and
turn off iPhone (press and hold the On/Off button, then slide the onscreen slider). Then use a soft,
slightly damp, lint-free cloth. Avoid getting moisture in openings. Don’t use window cleaners,
household cleaners, compressed air, aerosol sprays, solvents, alcohol, ammonia, or abrasives to
clean iPhone. The front cover of iPhone 3GS and the front and back covers of iPhone 45 and
iPhone 4 are made of glass and have an oleophobic coating. To clean these surfaces, simply

wipe with a soft, lint-free cloth. The ability of this coating to repel oil will diminish over time with
normal usage, and rubbing the screen with an abrasive material will further diminish its effect and
may scratch the glass.

For more information about handling iPhone, see the iPhone Important Product Information Guide
at www.apple.com/support/manuals/iphone.

Restarting or resetting iPhone
If something isn't working right, try restarting iPhone, force quitting an app, or resetting iPhone.

Restart iPhone: Press and hold the On/Off button until the red slider appears. Slide your finger
across the slider to turn off iPhone. To turn iPhone back on, press and hold the On/Off button until
the Apple logo appears.

If you can’t turn off iPhone or if the problem continues, you may need to reset iPhone. A reset
should be done only if turning iPhone off and on doesn't resolve the problem.

Force an app to close: Press and hold the On/Off button for a few seconds until a red slider
appears, then press and hold the Home button O until the app quits.

You can also force an app to quit by removing it from the multitasking bar. See “Opening and
switching apps” on page 19.

Reset iPhone: Press and hold both the On/Off button and the Home button O for at least ten
seconds, until the Apple logo appears.

For more troubleshooting suggestions, see Appendix B,Support and Other Information,” on
page 157,

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Siri

Using Siri

Siri helps you get things done. All you have to do is ask. You can ask Siri to make a call, find a
business and get directions, schedule reminders and meetings, search the web, dictate text, and
much more.

Note: Siri is available only on iPhone 4S and requires Internet access. Siri may not be available in
all languages or in all areas, and features may vary by area. Cellular data charges may apply.

COM (ctl a TL Ut isl oe (ele What Siri heard you say
(ele) ii -ie-laa ye ices |=) abr)

Siri's response

Related info—tap to

®@ Coffee with Jamie... 2PM open the app.

Tap to speak to Siri.

Use Siri: Press and hold the Home button O. After the tone, ask a question or tell Siri what to do.

With iPhone earphones or a supported Bluetooth headset, press and hold the center (or
comparable) button.

You can also bring iPhone to your ear while the screen is on.

Siri can help with the following apps and services:

Phone Make a phone or FaceTime call.
Example: “Call Jason.” or “FaceTime Joe.”

Music Control music playback.
Example: “Play The Light of the Sun.”

Messages Read and send text messages.
Example: "Tell Susan I'll be right there.”

Calendar Create and view events.
Example: “Set up a meeting at 9."

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Reminders Create, search, and update reminders.
Example: “Remind me to call mom.”

Maps Find locations, get directions, and contact businesses.
Example: “How do | get home?”

Mail Send and search email.
Example: “Email Lisa about the trip."

Weather Get current weather and forecasts,
Example: "What's the weather for today?”

Stocks Get stock info.
Example: “What is Apple's stock price?”

Clock Get the date and time for major cities, set alarms, and start the timer.
Example: “Wake me up tomorrow at 7 a.m.”

Contacts Get and use information about your contacts.
Example: “What's Michael's address?”

Notes Create, search, or add to notes.
Example: “Note that | spent $12 on lunch.”

Safari Search the web,
Example: “Search the web for Bora Bora."

WolframAlpha Answer questions about facts, data, statistics, and mathematical
calculations.

Example: “How many calories in a bagel?"

Find My Friends (available Locate friends.
separately from the App Store) Example: “Find Bob,”

For more examples, ask Siri,”What can you do?” or tap @ when Siri opens.

Siri knows which app you're using, so you can refer to what's on your screen. For example, when
reading a message in Mail, you can say “Reply, | like it” or “Call him.” Siri also understands different
ways of saying the same thing. For example, you could say “Send a message to Susan saying I'll be
right there” or Tell Susan I'll by right there.”

When Siri displays information on the screen (for example, a calendar appointment), you can
usually tap the displayed info to open the related app for details and further action.

Siri uses information in Contacts to know when you're referring to your friends and associates.
Make sure you have contacts for the people you want Siri to know about. Include nicknames
and addresses, so that you can say things like “Find restaurants near Bob’s house." If you refer
to someone by a single name, Siri looks for a match in Favorites (in Phone) or Conversations (in
Messages). Otherwise, Siri asks for clarification, if needed.

On your personal card in Contacts, enter names of Related People (such as mother, brother, or
manager) to enable Siri to respond to requests such as “Call mom.” Enter your home address and
work address, so you can say things like "How do | get home?” and “Remind me to call Bob when |
get to work.” To let Siri know which card is yours, go to Settings > General > Siri > My Info.

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Cancel a request

Say “cancel,” tap 8 or press the Home button CO.

Stop a phone call you started
with Siri

Before Phone opens, press the Home button QO. If Phone is already open,
tap End.

Set options for Siri

Go to Settings > General > Siri. See “Siri” on page 148.

Restrict Siri completely or restrict
explicit language

Go to Settings > General > Restrictions.

If Siri doesn’t hear you correctly
On the Siri screen, Siri shows what it heard you say and displays a response. If Siri doesn’t hear you
exactly right, you can make corrections.

Correct what Siri hears you say

On the Siri screen, tap the bubble showing what Siri heard you say. Edit
your request by typing, or tap 8 to dictate. Tap Done when you finish.

Correct a word underlined in blue

Tap the word, then tap one of the alternatives presented, type the
correction, or tap to dictate.

Correct Siri by voice

Tap to speak to Siri again, and restate or clarify your request. For example,
“| meant Boston.”

Correct a mail or text message

When asked if you want to send the message, you can say things like:
+ “Change it to: Call me tomorrow.”

+ “Add: See you there question mark.”

+ “No, send it to Bob.”

» “No.” (to keep the message without sending it)

» “Cancel.”

If the message is correct, you can say something like “Yes, send it.”

Dictation

When Siri is turned on, you can also dictate text. See “Dictation” on page 24.

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